               IN THE COURT OF APPEALS OF NORTH CAROLINA

                                   No. COA19-852

                                 Filed: 7 April 2020

Wake County, No. 18 CVS 2501

SHIRLEY VALENTINE, ADMINISTRATOR OF THE ESTATE OF SHANYE
JANISE ROBERTS, DECEASED, Plaintiff,

              v.

STEPHANIE SOLOSKO, PA-C; NEXTCARE URGENT CARE; NEXTCARE, INC.;
NEXTCARE, INC. D.B.A. NEXTCARE URGENT CARE; MATRIX OCCUPATIONAL
HEALTH, INC. and MATRIX OCCUPATIONAL HEALTH, INC. D.B.A. NEXTCARE
URGENT CARE, Defendants.


        Appeal by Defendants from order entered 18 March 2019 by Judge Allen

Baddour in Wake County Superior Court. Heard in the Court of Appeals 4 February

2020.


        The Law Office of Thomas E. Barwick, PLLC, by Thomas E. Barwick, for
        Plaintiff-Appellee.

        Lewis Brisbois Bisgaard &amp; Smith, LLP, by Carrie E. Meigs and Justin G. May,
        for Defendants-Appellants.


        COLLINS, Judge.


        Defendants appeal from an order granting Plaintiff’s motion for an extension

of time to serve the summons and complaint and denying Defendants’ motions to

dismiss and for judgment on the pleadings. Defendants argue that the trial court

erred in its application of Rules 4 and 6 of the North Carolina Rules of Civil

Procedure.     Because a trial court is afforded discretion under Rule 6(b) to
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                                   Opinion of the Court



retroactively extend the time for service of process of a dormant summons under Rule

4(c) upon a finding of excusable neglect, we discern no legal error by the trial court.

Accordingly, we affirm the trial court’s order.

                               I. Procedural History

      Plaintiff, Shirley Valentine, the administrator of the estate of her deceased

daughter Shanye Janise Roberts, filed a lawsuit in 2015 alleging medical malpractice

and wrongful death against Stephanie Solosko, PA-C; NextCare Urgent Care;

NextCare, Inc.; NextCare, Inc. D.B.A. NextCare Urgent Care; Matrix Occupational

Health, Inc.; and Matrix Occupational Health, Inc. D.B.A. NextCare Urgent Care

(collectively “Defendants”). The action arose out of medical care that Defendants

provided to the deceased on 10 April 2013. The trial court extended the statute of

limitations to 7 August 2015 pursuant to Rule 9(j) of the North Carolina Rules of Civil

Procedure.    Plaintiff voluntarily dismissed the lawsuit without prejudice on

24 February 2017.

      Plaintiff timely filed a second lawsuit on 23 February 2018 and the Clerk of

Court issued summonses (“the original summonses”) for all Defendants on that day.

Plaintiff served the original summonses on defendant Solosko on 15 May 2018 and

the other defendants on 17 May 2018 (eighty-one and eighty-three days, respectively,

after the original summonses were issued). Plaintiff filed an affidavit of service of

process on 15 June 2018, including the returned registry receipts as exhibits.



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                                        Opinion of the Court



       Plaintiff sued out alias or pluries summonses1 for all Defendants on 23 May

2018, eighty-nine days after the original summonses were issued. Plaintiff did not

serve these alias or pluries summonses on Defendants.

       On 19 July 2018, Defendants filed an answer and a motion to dismiss on the

following grounds: lack of personal jurisdiction, insufficiency of process, insufficiency

of service of process, failure to state a claim upon which relief can be granted, and the

action being time-barred by the statute of limitations. Defendants also filed a motion

for judgment on the pleadings.

       Plaintiff sued out alias or pluries summonses again on 22 August 2018,

ninety-one days after issuance of the previous alias or pluries summonses. Plaintiff

did not serve these alias or pluries summonses. On 28 September 2018, Plaintiff filed

a motion to extend time to issue, file, and serve the summonses, the alias or pluries

summonses, and the complaint.

       After conducting a hearing, the trial court entered an order granting Plaintiff’s

motion for extension of time for service of the summonses and complaint, and denying

Defendants’ motions to dismiss and for judgment on the pleadings. Defendants filed

notice of appeal.




       1 North Carolina Rule of Civil Procedure 4 appears to use the terms “alias or pluries summons”
and “alias and pluries summons” interchangeably, as do our courts. Throughout this opinion, we use
the term “alias or pluries summons.”

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                            II. Appellate Jurisdiction

      The trial court’s order does not dispose of all claims and all defendants, and is

thus an interlocutory order. N.C. Gen. Stat. § 1A-1, Rule 54(a) (2019); Veazey v. City

of Durham, 231 N.C. 357, 361-62, 57 S.E.2d 377, 381 (1950). There is generally no

right to immediate appeal of an interlocutory order—although immediate appeal may

be permitted if the trial court certifies the order under N.C. Gen. Stat. § 1A-1, Rule

54(b), or if the appellant can show that the order affects a substantial right—because

most interlocutory appeals tend to hinder judicial economy by causing unnecessary

delay and expense. Love v. Moore, 305 N.C. 575, 580, 291 S.E.2d 141, 145-46 (1982).

      Here, the trial court could not certify the order pursuant to Rule 54(b) because

“there has been no adjudication as to any claim(s) or part(ies) within the meaning of

Rule 54(b).” Howze v. Hughes, 134 N.C. App. 493, 495, 518 S.E.2d 198, 199 (1999).

Moreover, contrary to Defendants’ argument that the order affects a substantial right

under N.C. Gen. Stat. § 1-277(b), which allows “the right of immediate appeal from

an adverse ruling as to the jurisdiction of the court over the person or property of the

defendant[,]” our courts have routinely held that that section 1-277(b) is limited to

rulings on minimum contacts questions, and does not apply to rulings based on

procedural issues regarding issuance or service of process, such as the order at issue

in this case. See Berger v. Berger, 67 N.C. App. 591, 595, 313 S.E.2d 825, 829 (1984).

Nonetheless, “because the case sub judice is one of those exceptional cases where



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judicial economy will be served by reviewing the interlocutory order, we will treat the

appeal as a petition for a writ of certiorari and consider the order on its merits.”

Carolina Bank v. Chatham Station, Inc., 186 N.C. App. 424, 428, 651 S.E.2d 386, 389

(2007) (citations omitted); N.C. R. App. P. 21(a)(1).

                                   III. Discussion

      The central question is whether the trial court may, upon a showing of

excusable neglect, grant an extension of time under these facts to serve a dormant

summons where a second alias or pluries summons was obtained ninety-one days

after the previous alias or pluries summons.

      Plaintiff argues that Lemons v. Old Hickory Council, Boy Scouts of America,

Inc., 322 N.C. 271, 367 S.E.2d 655, reh’g denied, 322 N.C. 610, 370 S.E.2d 247 (1988),

and its progeny control the outcome here. Conversely, Defendants contend that

Plaintiff’s failure to timely obtain the second alias or pluries summons effectively

discontinued the action, as was the case in Dozier v. Crandall, 105 N.C. App. 74, 411

S.E.2d 635 (1992).

      Rule 4 governs service of process. See N.C. Gen. Stat. § 1A-1, Rule 4 (2019).

Upon the filing of a complaint, summons shall be issued within five days. Id. at

§ 1A-1, Rule 4(a). Rule 4(c) requires that a summons be served within sixty days of

issuance. Id. at § 1A-1, Rule 4(c). A summons not served within sixty days “loses its

vitality and becomes functus officio, and service obtained thereafter does not confer



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jurisdiction on the trial court over the defendant. However, although a summons not

served within [sixty] days becomes dormant and unserveable, under Rule 4(c) it is

not invalidated nor is the action discontinued.” Dozier, 105 N.C. App. at 75-76, 411

S.E.2d at 636 (citations omitted).

      If the summons is not served within sixty days of issuance, Rule 4(d) permits

the action to be continued in existence by an endorsement from the clerk or issuance

of an alias or pluries summons within ninety days of the issuance of the preceding

summons. N.C. Gen. Stat. § 1A-1, Rule 4(d). Any such alias or pluries summons

must be served within sixty days of issuance. See Lemons, 322 N.C. at 275, 367 S.E.2d

at 657.

      When there is neither an endorsement nor issuance of alias or pluries

summons within the time specified in Rule 4(d), the action is discontinued as to any

defendant who was not served with summons within the time allowed. N.C. Gen.

Stat. § 1A-1, Rule 4(e). Thereafter, endorsement may be obtained or alias or pluries

summons may issue, but, as to any defendant who was not served with summons

within the time specified in Rule 4(d), the action shall be deemed to have commenced

on the date of such issuance or endorsement. Id.

      “Rule 4 . . . must be interpreted in conjunction with Rule 6, which addresses

the computation of any time period prescribed by the Rules of Civil Procedure.”

Lemons, 322 N.C. at 275, 367 S.E.2d at 657. Rule 6 provides:



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                                       Opinion of the Court



               When by these rules or by a notice given thereunder or by
               order of court an act is required or allowed to be done at or
               within a specified time, the court for cause shown may at
               any time in its discretion with or without motion or notice
               order the period enlarged if request therefor is made before
               the expiration of the period originally prescribed or as
               extended by a previous order. Upon motion made after the
               expiration of the specified period, the judge may permit the
               act to be done where the failure to act was the result of
               excusable neglect.

N.C. Gen. Stat. § 1A-1, Rule 6 (2019).

       In Lemons, our North Carolina Supreme Court concluded that Rule 6

permitted the trial court to grant an extension of time to serve a dormant summons,

and thus revive it, where the alias summons was served on the defendant after the

time for service of process under Rule 4(c) had expired. Lemons, 322 N.C. at 277, 367

S.E.2d at 658.       The plaintiff commenced an action against the defendant on

6 February 1986. A summons was also issued that day but was not served. An alias

summons was issued on 2 May of that year and was served on 5 June, more than

thirty days2 after its issuance. On 13 October 1986, the plaintiff filed a motion for

retroactive extension of time, nunc pro tunc, from 2 June until 6 June to serve the

alias summons.       Construing Rule 4 in para materia with Rule 6(b), the Court

determined that the General Assembly, by adopting Rule 6(b), gave trial courts the

authority to extend the time provided in Rule 4(c) to serve a summons upon a finding


       2 At the time the summons was issued in this case, Rule 4(c) required process to be served
within thirty days. At the time the instant action was commenced, the time allowed under Rule 4(c)
was sixty days.

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                                  Opinion of the Court



of excusable neglect, and thus to “breathe new life and effectiveness into [a dormant

summons] retroactively after it has become functus officio.” Id. at 274-75, 367 S.E.2d

at 657. The Court concluded that Rule 6 permitted an extension of time to serve a

dormant summons and thus revive it where the alias summons was served on the

defendant after the time for service of process under Rule 4(c) had expired. Id. at

277, 367 S.E.2d at 658.

      Applying Lemons in Hollowell v. Carlisle, 115 N.C. App. 364, 444 S.E.2d 681
(1994), this Court concluded that Rule 6 permitted the trial court to grant a plaintiff

an extension of time to serve a dormant summons where no alias or pluries summons

was obtained. Id. at 368, 444 S.E.2d at 683. The defendant was served with the

original summons and complaint sometime between sixty-eight and ninety days after

issuance of the summons. Since the defendant “was served with a dormant summons

within the 90-day limit,” this Court held that “the trial court had the authority

pursuant to the language of Rule 6(b) to extend the time for service of process under

Rule 4(c), ‘to permit the act to be done where the failure to do the act was the result

of excusable neglect.’” Id. See also Wetchin v. Ocean Side Corp., 167 N.C. App. 756,

761, 606 S.E.2d 407, 410 (2005) (“The instant case is factually identical to Lemons.

The alias and pluries summons became dormant after sixty days, prior to plaintiffs’

effectuating service on 20 November 2002, but before the expiration of the summons

on 27 November 2002. The summons was merely dormant at the time of service; it



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                                   Opinion of the Court



had not expired and the trial court had the discretion to retroactively extend the time

for service of the alias and pluries summons.”).

      By contrast, in Dozier, this Court distinguished Lemons and concluded that

Rule 6(b) does not allow a party to continue an action beyond the ninety-day period

specified in Rule 4(e). Dozier, 105 N.C. App. at 77-78, 411 S.E.2d at 637-38. In Dozier,

the plaintiff filed an action on 15 March 1990 alleging personal injuries. A summons

was issued on that day but returned unserved twelve days later. Ninety-two days

after the issuance of the original summons, an alias or pluries summons was issued;

it was returned unserved eleven days later. The defendant accepted service on

20 August 1990 and filed a motion for judgment on the pleadings asserting the three-

year statute of limitations. The plaintiff moved pursuant to Rule 6 to extend the

period for issuance of the alias or pluries summons.

      The Court explained that under Lemons, a trial court, pursuant to Rule 6, may

in its discretion and upon a finding of excusable neglect extend the time provided in

Rule 4(c) to serve a dormant summons and thus revive it. Id. Lemons did not control,

however, because the action before the Dozier Court had been discontinued. The

Court explained:

             Rule 4(e) specifically provides that where there is neither
             endorsement nor issuance of alias or pluries summons
             within 90 days after issuance of the last preceding
             summons, the action is discontinued as to any defendant
             not served within the time allowed and treated as if it had
             never been filed. Under Rule 4(e), either an extension can


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              be endorsed by the clerk or an alias or pluries summons
              can be issued after the 90 days has run, but the action is
              deemed to have commenced, as to such a defendant, on the
              date of the endorsement or the issuance of the alias or
              pluries summons. Thus, when plaintiff failed to have this
              action continued through endorsement or issuance of alias
              or pluries summons within 90 days, this action was
              discontinued.

Id. at 78, 411 S.E.2d at 638 (internal quotation marks, emphasis, and citations

omitted).

       Accordingly, “[w]hile Rule 6 under the Lemons case gives the trial court

discretion upon a showing of excusable neglect to permit an act to be done,” the Court

found “no authority in the rule or in Lemons to overrule the express language of Rule

4(e) as to the effect of failing to have an endorsement or alias or pluries summons

issued ‘within the time specified in Rule 4(d) . . . .’” Id.

       Lemons and its progeny control this case, while Dozier involves a factual

situation which materially differs from that presented here. Unlike the defendant in

Dozier who was served some five months after the original summons was issued with

an alias summons that was issued outside the ninety-day time period prescribed by

Rule 4(d), Defendants in this case were served with the original summonses eighty-

one and eight-three days after issuance of the summonses.           As in Hollowell,

Defendants were served with dormant summonses within the ninety-day limit

prescribed by Rule 4(d). Under Lemons, the trial court had the authority under Rule

6(b) to extend the time provided in Rule 4(c) to serve the summonses upon a finding


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of excusable neglect, and thus to “breathe new life and effectiveness” into the dormant

summonses retroactively after they had become functus officio. Lemons, 322 N.C. at

274-75, 367 S.E.2d at 657. Accordingly, “the trial court had the authority pursuant

to the language of Rule 6(b) to extend the time for service of process under Rule 4(c),

‘to permit the act to be done where the failure to do the act was the result of excusable

neglect.’” Hollowell, 115 N.C. App. at 368, 444 S.E.2d at 683.

        As the trial court found that Plaintiff’s service of the original summonses

outside the sixty-day period prescribed in Rule 4(c) was a result of excusable neglect,3

and the trial court had the authority to invoke its discretion to retroactively extend

the time for Plaintiff to serve the summonses and complaint to 23 May 2018 and to

explicitly deem service of process timely under Rule 4, the trial court did not err in

granting Plaintiff’s motion for an extension of time to serve the summonses and

complaint.4 Moreover, as service of process was deemed timely under Rule 4, the trial

court obtained personal jurisdiction over Defendants. See Fender v. Deaton, 130 N.C.




        3    This finding is not challenged and is thus binding upon us. Koufman v. Koufman, 330 N.C.
93, 97, 408 S.E.2d 729, 731 (1991). The trial court’s finding that Plaintiff’s failure to renew the alias
or pluries summons resulted from excusable neglect is not germane to this appeal, as the trial court
did not extend the time for suing out the second alias or pluries summons.
           4 The trial court also found that “Plaintiff’s failure to renew her Alias and Pluries Summons

prior to the hearing of these Motions were the result of excusable neglect.” To the extent the trial
court’s order granting “Plaintiffs Motion to Extend the Time to Issue[], File and Serve Summonses and
Complaint” allowed Plaintiff an extension of time to renew her Alias and Pluries Summons, such
extension was erroneous under Dozier. See Dozier, 105 N.C. App. at 78, 411 S.E.2d at 638 (There is
“no authority in the rule or in Lemons to overrule the express language of Rule 4(e) as to the effect of
failing to have an endorsement or alias or pluries summons issued ‘within the time specified in Rule
4(d) . . . .’”).

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                                     Opinion of the Court



App. 657, 659, 503 S.E.2d 707, 708 (1998) (“[I]t is well established that a court may

only obtain personal jurisdiction over a defendant by the issuance of summons and

service of process by one of the statutorily defined methods.”). Accordingly, Plaintiff’s

action was not barred by the statute of limitations. Thus, the trial court did not err

by denying Defendants’ motions to dismiss and for judgment on the pleadings.

                                     IV. Conclusion

      Because the trial court had the authority to exercise discretion under Rule 6(b)

to extend the time for Plaintiff to serve dormant summonses under Rule 4(c) upon a

finding of excusable neglect, we discern no legal error by the trial court. Accordingly,

we affirm the trial court’s order.

      AFFIRMED.

      Judges STROUD and BERGER concur.




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